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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA        :
                                :
         v.                     :
                                :                  Case Number 1:21-cr-00537-JMC
STEPHEN CHASE RANDOLPH, et al., :
                                :
               Defendants.      :


UNITED STATES’ NOTICE REGARDING DEFENDANT RANDOLPH’S MOTION TO
 DISMISS SUPERSEDING INDICTMENT IN CRIMINAL MATTER NUMBER 21-332

       The United States of America respectfully gives notice that the government will respond

in case number 21-cr-332-JMC to defendant Randolph’s Motion, ECF 206, to Dismiss

Superseding Indictment In Criminal Matter Number 21-332. It appears that defendant Randolph’s

motion, ECF 206, was also docketed in Case No. 21-cr-332 at ECF 87. The motion seeks no relief

concerning any charges filed in the above-captioned case but does seek relief with respect to

charges filed i n Case No. 21-cr-332. To avoid any confusion between the two cases, the

United States will file its response in Case No. 21-cr-332 unless this Court directs otherwise.

Once the Court rules on ECF 87 in Case No. 21-cr-332, ECF 206 in the instant case can be

denied as moot.                            Respectfully submitted,

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